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9
     Counsel for Defendants
10
11                        IN THE UNITED STATES DISTRICT COURT
12                            FOR THE DISTRICT OF ARIZONA
13
     Grand Canyon University,
14
                      Plaintiffs,                           No. 2:21-cv-177-SRB
15
              v.                                            Defendants’ Motion and
16
     Miguel Cardona, in his official capacity as            Supporting Memorandum to File
17   Secretary of Education, et al.,                        Select Exhibits Under Seal
18                   Defendants.
19
20
             Pursuant to LRCiv. 5.6, Defendants respectfully request that the Court enter an order
21
22   sealing select exhibits, which exhibits are submitted in support of Defendants’ Motion for
23   Summary Judgment and Response to Plaintiff’s Motion for Summary Judgment filed on this
24
     same date. Counsel for Defendants has conferred with counsel for Plaintiff, and Plaintiff has
25
     confirmed that it consents to this motion. Defendants’ request is made upon the following
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27   information and grounds:
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            On May 16, 2022, Plaintiff filed a motion to seal select exhibits that were attached to
1
2    its Motion for summary judgment. ECF No. 64. In Plaintiff’s Motion to Seal, it argued that
3    certain information should be sealed because it “contain[s] competitively sensitive
4
     information” that “primarily consists of economic valuations and related documents that
5
6    contain GCU’s financial operations metrics.” ECF No. 64 at 1. Plaintiff argued that “[t]he

7    Subject Documents contain the type of confidential and competitively sensitive information
8
     that courts have deemed to warrant protection and should therefore be sealed.” Id. at 2.
9
     Defendants took no position on Plaintiff’s argument and did not oppose Plaintiff’s motion to
10
11   seal, ECF No. 69, which the Court granted on June 10, 2022. ECF No. 71.
12          In accordance with Plaintiff’s prior representations, Defendants have identified three
13
     exhibits to be submitted in support of their cross-motion for summary judgment that appear
14
     to contain the same or similar information about GCU to that which has already been sealed
15
16   in this case. Those exhibits include: (1) GCU Board Minutes and accompanying presentations
17   (from July 26, 2017 and October 26, 20170); and (2) Gazelle University’s IRS Form 1023
18
     Application packet (dated October 8, 2015). These documents were submitted to the
19
20   Department of Education by GCU in connection with its application to participate in the

21   Department’s Title IV programs under the Higher Education Act and, thus, are part of the
22
     Administrative Record in this case.
23
            Defendants take no position on the sensitivity of Plaintiff’s documents or as to whether
24
25   Plaintiff has important interests in maintaining the confidentiality of that information.
26   However, in light of Plaintiff’s prior assertions in its Motion to Seal, and the Court’s grant of
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     that motion, Defendants are cognizant of Plaintiff’s concerns as previously recognized by the
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     Court. Accordingly, on June 30, 2022, Defendants’ counsel sent an email to counsel for
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2    Plaintiff’s and offered to file the select exhibits under seal, subject to the following protocols:
3           1. Because Defendants are not in a position to know what specific information
4              Plaintiff considers confidential from the three documents at issue, Defendants will
               file the three documents under seal in their entirety;
5
6           2. Within twelve (12) days, Plaintiff will file redacted versions of those documents on
               the docket, based on Plaintiff’s determination as to which parts of those documents
7              should be kept confidential.
8
     Plaintiff has agreed to this schedule and approach.
9
            Accordingly, Defendants respectfully request that the Court grant their motion to seal,
10
11   and order Plaintiff’s to file redacted versions of those documents on the docket within twelve
12   (12) days.
13
14
15   Dated: June 30, 2022                        Respectfully submitted,

16                                               BRIAN M. BOYNTON
                                                 Principal Deputy Assistant Attorney General
17
                                                 MARCIA BERMAN
18                                               Assistant Branch Director
                                                 Federal Programs Branch
19
                                                 /s/ Emily Nestler
20                                               EMILY NESTLER
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25                                               Counsel for Defendants

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1                                  CERTIFICATE OF SERVICE
2           I hereby certify that on June 30, 2022, I electronically transmitted the foregoing to the
3    Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of Electronic
4    Filing to the CM/ECF registrants for this matter.
5
                                                         /s/ Emily Nestler
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                                                         EMILY NESTLER
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